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=> 4igcleu(e) anc) ele) at

rVe)e)(-ai age) nm male (er

 

 

 

 

 

 

Contacts (1)
# Contact Timestamp Entries Addresses Notes | Deleted |
1 Name: Max Bird | Modified: Phone: About: Busy
Source: WhatsApp (| 1/16/2019 1:41:50 Mobile +1 (876) 770-7685
Photos: | AM(UTG+0)
18767707685-
1548022232 jpg

 

 

 

CELL_00000048
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=> 4igcleu(e) anc) ele) at

rVe)e)(-ai age) nm male (er

 

 

 

 

 

 

Contacts (1)
# Contact Timestamp Entries Addresses Notes | Deleted |
1 Name: Bird Lime | Modified: Phone: About: Hey there! | am using
Source: WhatsApp =| 11/15/2018 2:54:17 18767743214 WhatsApp.
Photos: PM(UTC+0)
18767743214- |
1542293695 jpg

 

 

 

CELL_00000049
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=> 4igcleu(e) anc) ele) at

rVe)e)(-ai age) nm male (er

 

Participants

18767743214@s.whatsapp.net
Fry

 

13476338544@s.whatsapp.net
NEW RULES (owner)

 

Conversation - Instant Messages (5)
7 13476338544 @s.whatsapp.net NEW RULES 9/4/2018 3:27:56 PM(UTC+0) Ai

Attachments:

https://mmg-

fna.whatsapp.net/d/fAkG SjOMiBSeoBCOWQoUP
d1QXk6LQHKa4BU_AEdE3KCYim.enc
817dee92-cd0e-4df4-9165-19ebe045a948 mp4

 

 

 

 

 

 

Ww 18767743214 @s.whatsapp.net Fry 9/4/2018 4:44:41 PM(UTC+0)

782608227498

Ww 13476338544 @s.whatsapp.net NEW RULES 9/4/2018 4:44:50 PM(UTC+0) Ay

Mad rass

 

 

 

 

 

Ww 18767743214 @s.whatsapp.net Fry 94/2018 4:45:02 PM(UTC+0)

Ahh

Ww 13476338544 @s.whatsapp.net NEW RULES 9/4/2018 11:07:05 PM(UTC+0) Ai

Attachments:

 

 

 

 

 

 

https://mmg-
fna.whatsapp.net/d/ffAkmu9kckxSBeYL4minam
diap51FX1J6IpYd73¥gX71b3.enc
f079138d-60eb-47dd-86d2-58d7 19f2ad30.mp4

 

 

 

CELL_00000010
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=> 4igcleu(e) anc) ele) at

rVe)e)(-ai age) nm male (er

Contacts (2)

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# Contact Timestamp Entries Notes | Deleted |
1 Name: Budman User ID:
Group: friends Username rjay733

Source: Snapchat

2 Name: Budman
Source: WhatsApp
Photos:
18765627953-
1508368907 jpg

 

 

Phone:
Mobile +1 (876) 562-7953

 

 

 

CELL_00000047
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=> 4igcleu(e) anc) ele) at

rVe)e)(-ai age) nm male (er

 

SMS Messages (4)
/2\~ These details are cross-referenced from this device's contacts

 

# ~~ Folder Party Time All timestamps Status | Message | Deleted |

1 Inbox To 7/29/2018 Read:
+13476338544 9:31:03 7/29/2018
bruce luton* PM(UTC+0) 9:31:05
From PM(UTG+0)
+18764698163

Miss Carlene”
Direction:
Incoming

 

Read |Mla go get min and call yuh

 

To 7/29/2018 Read:
+13476338544 9:30:31 7/29/2018
bruce luton” PM(UTC+0) 9:30:34
From PM(UTC+0)
+18764698163

Miss Carlene”
Direction:
Incoming

2 | Inbox ‘Read | Mi left my money in my car

 

3 Sent From 7/29/2018 Sent = +1 (876) 308-6329
413476338544 9:28:06

bruce luton* PM(UTG+0)
Ta
+18764698163
Miss Carlene”
Direction:
Outgoing

 

 

4 Inbox Ta 7/29/2018 Read:
+13476338544 9:27:11 7/29/2018
bruce luton* PM(UTC+0) 9:27:19
From PM(UTC+0)
+18764698163
Miss Carlene”

Direction:
Incoming

Read = What is bird number

 

 

 

 

 

CELL_00000003
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=> 4igcleu(e) anc) ele) at

rVe)e)(-ai age) nm male (er

 

Contacts (1)

# Contact Timestamp Entries Addresses

1 Name: X-Budman —s Modified: Phone:
Sources: WhatsApp =—-2/25/2018 2:36:33 +18763086329
Photos: | AM(UTG+0)
18763086329-

eee

18763086329-
1537577152.thumb
18763086329-

1537577152 jpg

 

Notes | Deleted |
About: Busy

 

 

 

 

 

 

 

CELL_00000045
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CELL_00000045.001
